Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 1 of 20 PageID #: 1860




                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                       )
                                                )
               v.                               )
                                                )           Criminal No. 23-00061-MN
ROBERT HUNTER BIDEN,                            )
                                                )
                      Defendant.                )

          THE UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION
           TO COMPEL DISCOVERY AND SET DISCOVERY DEADLINES

       The United States respectfully opposes defendant Robert Hunter Biden’s motion to

compel discovery and set discovery deadlines. See ECF 83.

       Before addressing his claims, the government notes three significant deficiencies in the

defendant’s motion. First, while he is the moving party and therefore bears the burden of

persuasion, the defendant fails to argue why each of his specific discovery requests are for

discoverable material. Instead, he simply references his discovery letters, broadly contends that

those requests were for discoverable material under Federal Rule of Criminal Procedure 16 or

Brady, and seeks to shift the burden to the Government in the first instance to address his own

individual requests and the applicable law. In other words, rather than establishing why he is

entitled to the broad categories of information he is demanding, he argues the Court should order

the Government to explain why he is not entitled to them. That is simply not how criminal

discovery works. Second, he does not cite any precedent for the relief he requests, such as his

request that the Court set a Jencks deadline six weeks in advance of trial. Third, the defendant’s

claims show that he has either failed to review the discovery he has received, or he has

misrepresented what has already been produced by the government.




                                                 1
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 2 of 20 PageID #: 1861




       The government will address each of the defendant’s general arguments in his motion

regarding Federal Rule of Criminal Procedure 16, Brady material, witness statements covered by

18 U.S.C. § 3500, Federal Rule of Evidence 404, Grand Jury Materials, his “Supplemental

Requests for DOJ Materials,” and his complaints about the format of some of the electronic

evidence. For the reasons stated below, the defendant’s motion to compel discovery and set

discovery deadlines should be denied.

I.     BACKGROUND

       On September 14, 2023, a grand jury in the District of Delaware returned a three-count

indictment charging the defendant with violating 18 U.S.C. §§ 922(a)(6) and 924(a)(2) for

making a false statement during a background check to deceive a firearms dealer when he

acquired a firearm (“Count One”), 18 U.S.C. § 924(a)(1)(A) for making a false statement during

a background check on paperwork that the firearms dealer was required to maintain (“Count

Two”), and 18 U.S.C. §§ 922(g)(3) and 924(a)(2) related to his illegal possession of a firearm

between October 12, 2018 and October 23, 2018 (“Count Three”). ECF 39, 40.

       On October 8, 2023, the defendant made a formal request for discovery. ECF 65-1. In

advance of his letter, defense counsel communicated to government counsel both at an in-person

meeting and by email that the defendant sought to obtain an identical copy of his laptop that

retained the laptop’s native forensic properties:




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Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 3 of 20 PageID #: 1862




       On October 12, 2023, the government provided to the defendant a production of materials

(“Production 1”) consisting of over 350 pages of documents as well as additional electronic

evidence from the defendant’s Apple iCloud account and an identical copy of the defendant’s

laptop produced in the exact specifications requested by the defendant.

       Production 1 included the search warrant, application, and accompanying affidavit for

information associated with the Apple email address <rhbdc@icloud.com>. See District of

Delaware Case No. 19-234M, issued on August 29, 2019. Production 1 also included an

additional search warrant, application, and accompanying affidavit for backups of Apple devices

(three iPhones and one iPad) that the defendant had backed up to his Apple iCloud account and

had been provided to investigators in response to the initial warrant. See District of Delaware


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Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 4 of 20 PageID #: 1863




Case Number 20-165M, issued on July 10, 2020. Both of these warrants authorized investigators

to search for violations of 26 U.S.C. § 7201, Tax Evasion, 26 U.S.C. § 7203, Willful Failure to

File Tax Returns or Pay Taxes, and 26 U.S.C. § 7206(1), False Tax Returns. Relevant to this

case, investigators were authorized by these warrants to seize “evidence indicating the email

account owner’s state of mind as it relates to the crimes under investigation.” Evidence that

showed the defendant’s addiction to and use of narcotics indicates “the email account owner’s

state of mind as it relates” to the tax crimes enumerated in the warrant. In addition, investigators

were also permitted to seize evidence relevant to this case under the plain view doctrine, which

they did. This evidence, from the defendant’s backups of his devices to his iCloud account, was

produced with the warrants in Production 1 in an easily searchable format. The primary source

of electronic evidence in this case is from the defendant’s iCloud account, which investigators

were authorized to seize because it showed “the email account owner’s state of mind as it relates

to the crimes under investigation” as well as under the plain view doctrine.

       Production 1 also included the contract the defendant signed when he dropped off his

laptop and hard drive at the computer repair store in which he agreed that, “[e]quipment left with

the Mac Shop after 90 days of notification of completed service will be treated as abandoned.”

Investigators also obtained a search warrant authorizing them to search the laptop and hard drive

that was obtained from the computer repair store. See District of Delaware Case No. 19-309M,

issued on December 13, 2019. The warrant authorized investigators to search for the same

violations referenced in the previous paragraph, that is, violations of 26 U.S.C. § 7201, Tax

Evasion, 26 U.S.C. § 7203, Willful Failure to File Tax Returns or Pay Taxes, and 26 U.S.C. §

7206(1), False Tax Returns. Relevant to this case, this warrant also authorized investigators to

seize “evidence indicating the state of mind of the owner and user of the TARGET MACBOOK



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Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 5 of 20 PageID #: 1864




PRO and TARGET EXTERNAL HARD DRIVE as it relates to the crimes under investigation.”

Again, evidence that showed the defendant’s addiction to controlled substances indicates “the

state of mind of the owner and user of the TARGET MACBOOK PRO and TARGET

EXTERNAL HARD DRIVE as it relates” to the to the tax crimes enumerated in the warrant. In

addition, investigators were also permitted to seize evidence relevant to this case under the plain

view doctrine. Evidence seized pursuant to this warrant was produced to the defendant in the

specific format that he requested. Many of the same messages, photographs, and information that

were obtained from the iCloud warrants were also located on the defendant’s laptop.

       On November 1, 2023, the government provided a production of materials (“Production

2”) to the defendant that was over 700,000 pages and largely consisted of documents obtained

during an investigation into whether the defendant timely filed and paid his taxes and committed

tax evasion. These documents included information about the defendant’s income and payments

made to drug and alcohol rehabilitation programs in 2018, the same year in which the defendant

possessed the firearm while addicted to controlled substances.

       On December 4, 2023, investigators obtained an additional search warrant for the

defendant’s iCloud account, the backup data associated with his iCloud account, his MacBook

Pro laptop, and the hard drive. See District of Delaware Case No. 23-507M, issued on December

4, 2023. This warrant authorized investigators to search for violations of 18 U.S.C. § 924(a)(6)

and 924(a)(2) related to making a false statement during a background check to deceive a

firearms dealer, violations of 18 U.S.C. § 924(a)(1)(A) related to making a false statement during

a background check on records that the firearms dealer was required to maintain, and violations

of 18 U.S.C. 922(g)(3). Among other items, the warrant authorized investigators to seize “all

evidence relating to addiction, substance use, and controlled substances, to include



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Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 6 of 20 PageID #: 1865




conversations, message communications, photographs, documents, and videos.” The December

4, 2023, warrant provided yet another legal basis for investigators to seize information relevant

to this case from the defendant’s iCloud account, his iCloud backup files, his laptop, and his

external hard drive. The warrant was produced to the defendant that same day, December 4,

2023. The following day, December 5, 2023, defense counsel sent the government a letter that

acknowledged it had reviewed this search warrant. Because the actual evidence relevant to this

case that was previously seized from the laptop, hard drive, and iCloud backup files had already

been produced to the defendant on October 12, 2023, there was no additional evidence produced

in response to this warrant.

       The defendant’s pretrial motions were due on December 11, 2023. ECF 57. The

defendant did not file any motions seeking to suppress evidence related to the search warrants

and evidence produced to him on October 12, 2023, in Production 1. The December 4, 2023,

warrant does not entitle him to file any now. In fact, the December 4, 2023 warrant moots any

issues that could have been raised by the defendant had he filed a motion to suppress those

warrants, and, in any event, he did not elect to file motions to suppress the evidence from the

August 29, 2019, December 13, 2019, or July 10, 2020 warrants that were produced to him on

October 12, 2023.

       In advance of his initial appearance on the tax indictment in the Central District of

California, on January 9, 2024, the government made a production of materials (“Production 3”)

to the defendant which included over 500,000 pages of documents and consisted of additional

information related to the tax investigation.




                                                 6
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 7 of 20 PageID #: 1866




        For each production, the government created an index with columns showing the Bates

range of the documents, a document description, and additional document details. This index

was also provided to the defense.

        On October 12, 2023, the government requested reciprocal discovery from the defendant.

The defendant has not yet produced any discovery to the government.

   I.       ARGUMENT
        Because “[t]here is no general constitutional right to discovery in a criminal case,”

Weatherford v. Bursey, 429 U.S. 545, 559 (1977), the defendant’s requests for discovery must be

tethered to applicable federal criminal discovery rules and law. Instead, he sent the government

a letter with enumerated requests similar to the style of a request for production of documents in

a civil case. However, his letters fail to explain how each of the requested items are discoverable

under applicable criminal discovery rules. His motion to compel discovery is likewise deficient

and fails to explain how the requested items are discoverable under applicable criminal discovery

rules and law. For the reasons described below, his motion should be denied.

               A. The Defendant’s Claims About Rule 16 Expert Reports Are Wrong
        The defendant does not allege any Rule 16 materials are missing from the productions

other than one assertion that, “to date, however, no expert reports or materials have been

identified or produced to defense counsel.” ECF 83 at p 6. He is incorrect. On November 7,

2023, the government produced to the defendant an expert report prepared by an FBI chemist

who analyzed the cocaine discovered on the defendant’s brown leather pouch that had contained

his gun. 1 In this same production, the government also produced an expert report prepared by an




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       See DOJ-02-00701485 – 00701486.

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Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 8 of 20 PageID #: 1867




agent related to the interstate nexus of the gun charged in the indictment. 2 In addition to these

reports, the government produced other materials for these two experts, including CVs, as well

as a CV for an additional expert. 3 By contrast, the defendant has failed to provide any discovery,

including any expert discovery.

        Other than his mistaken assertion regarding the lack of expert reports, the defendant does

not identify any other Rule 16 material that the government has failed to produce. See ECF 83 at

6. The defendant offers no authority for his request that the Court issue the order he suggests

and the government opposes his request.

               B. The Defendant’s Requests Are Not For Brady Material
        In his motion, the defendant states, “[i]n Mr. Biden’s October letter, he requested all

materials the prosecution is required to disclose under the Brady line of cases . . .” ECF 83 at 8.

The defendant’s motion references “19 specific Brady requests” in his October letter although he

does not attach it to his motion. Id. The defendant asks the Court to “order the prosecution to

respond to Mr. Biden’s specific discovery requests and his arguments for why the requested

documents must be produced.” Id. at 5.

        However, the defendant has not articulated why the requested documents are Brady, so

there is little to which the government can respond. For example, in his first discovery letter, the

defendant demanded, “Any documents and/or information reflecting communications between

anyone in your Office and any person at the U.S. Department of Justice concerning the

investigation or prosecution of Mr. Biden, including the decision to bring any particular

charges,” calling it “Brady” material. ECF 65 at 3. But the defendant failed to articulate in his


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       See DOJ-02-00701693 – 00701694.
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       See DOJ-02-00701481 – DOJ-02-00701484, DOJ-02-00701686 – 00701692.

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Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 9 of 20 PageID #: 1868




letter or in his motion why the internal deliberative process and work product of Justice

Department lawyers would ever be considered Brady. It would not. Similarly, in his motion, the

defendant demands “communications between or among specific former DOJ officials, and

President Trump, related to Mr. Biden,” ECF 83 at 3, but fails to explain how communications

among former political appointees and former President Trump addresses whether his client was

addicted to drugs when he purchased the firearm charged in this case and lied on the form he was

required to fill out. Overall, the defendant fails to provide any authority to support his argument

that the specific materials he requested in his discovery letters are required to be disclosed under

Brady. He does not discuss the specific requests in his motion or describe how the information

requested is material to his defense and favorable. He cites no cases addressing analogous

situations where courts have deemed that defendants are entitled to responses to similar requests

under Brady. Instead, he seeks to pass his burden to the government to argue in the first instance

why the information he is requesting is not Brady. But as the moving party here, it was the

defendant’s burden to do so. Since he did not, the Court should deny his deficient motion.

       Nonetheless, the government will briefly address the relevant law under Brady v.

Maryland, 373 U.S. 83 (1963). Under Brady, the government has the obligation to disclose

exculpatory evidence, that is, evidence that is favorable and material to the defense. Id. Strictly

speaking, Brady “‘is not a discovery rule, but a rule of fairness and minimum prosecutorial

obligation.’” United States v. Starusko, 729 F.2d 256, 262 (3d Cir. 1984) (citation omitted).

       Exculpatory evidence includes material that goes to the heart of the defendant's
       guilt or innocence as well as that which might well alter the jury’s judgment of the
       credibility of a crucial prosecution witness. Evidence impeaching the testimony of
       a government witness is exculpatory when the credibility of the witness may be
       determinative of a criminal defendant’s guilt or innocence. If the exculpatory
       evidence “creates a reasonable doubt” as to the defendant's culpability, it will be
       held to be material.



                                                 9
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 10 of 20 PageID #: 1869




Id. at 260 (citations omitted); see also United States v. Bagley, 473 U.S. 667, 682 (1985) (evidence

is “material” when it is reasonably probable that, “had the evidence been disclosed to the defense,

the result of the proceeding would have been different.”). Brady material must be disclosed “in

time for its effective use at trial.” United States v. Higgs, 713 F.2d 39, 44 (3d Cir. 1983), cert.

denied, 464 U.S. 1048 (1984).

       In Bagley, the Supreme Court was unequivocal in describing the parameters of Brady

within the context of criminal pretrial discovery: “[t]he Brady rule is based on the requirement of

due process. Its purpose is not to displace the adversary system as the primary means by which

truth is uncovered, but to ensure that a miscarriage of justice does not occur. Thus, the

prosecutor is not required to deliver his entire file to defense counsel, but only to disclose

evidence favorable to the accused that, if suppressed, would deprive the defendant of a fair trial.”

473 U.S. 667, 675 (1985). Accord Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987) (“A

defendant’s right to discover exculpatory evidence does not include the unsupervised authority to

search through the Commonwealth’s files.… it is the State that decides which information must

be disclosed. Unless defense counsel becomes aware that other exculpatory evidence was

withheld and brings it to the court’s attention, the prosecutor’s decision on disclosure is final.”)

(citations omitted).

       The defendant’s October 8, 2023, letter included 19 requests but none sought exculpatory

evidence that “goes to the heart of the defendant’s guilt or innocence as well as that which might

well alter the jury’s judgment of the credibility of a crucial prosecution witness.” Starusko, 729

F.2d 256, 260. Therefore, the requests are not “Brady requests.” Accordingly, during a meet

and confer conference with counsel on December 1, 2023, the government did not agree that the




                                                  10
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 11 of 20 PageID #: 1870




materials were discoverable under Brady and advised that it would not be providing information

responsive to those requests beyond what may have already been provided in discovery. 4

       Two months later, the defendant filed the instant motion that fails to provide authority,

much less argument, about his specific requests. For example, he fails to explain why the

government must produce communications with his own defense lawyers (which are already in

his possession), see ECF 65-1 at “D,” yet he asks the Court to order them to be produced under

Brady. He does not explain how such communications with his lawyers negate his guilt on the

charged crimes. Because the defendant failed to provide authority for his requests, the

government reiterates here, as it did to the defendant, that his requests under Brady are

unfounded. 5


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     Some of the requested information was produced, but not because it is Brady material. For
example, the government produced records of the defendant’s addiction by providing records of
payments for substance abuse treatment in 2018 which, by his own admission in his book, was
unsuccessful. The defendant’s failure to acknowledge that some of the requested information
was produced is either a misleading omission or demonstrates that the defendant has not
reviewed the discovery he has received, similar to his failure to acknowledge the expert reports
already produced in discovery. The government also notes that it is not withholding “documents
and/or information reflecting Mr. Biden’s sobriety in 2018.”
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      Nearly all of the defendant’s requests appear to be for material related to his constitutional
arguments regarding selective and vindictive prosecution. Such challenges are “not a defense on
the merits to the criminal charge itself,” United States v. Armstrong, 517 U.S. 456, 463 (1996),
and are not issues for the jury to decide, see United States v. Berrigan, 482 F.2d 171, 175-76 (3d
Cir. 1973); United States v. Dufresne, 58 F. App’x 890, 895 (3d Cir. 2003). The requested
information is not Brady because it does not go to the heart of his guilt or innocence on the
charges in the indictment and is not admissible at trial. See United States v. Brock, 628 F. Supp.
3d 85, 101 & n.5 (D.D.C. 2022) (selective prosecution evidence is not discoverable under Brady
because it is not relevant to guilt or punishment); United States v. Sutton, 636 F. Supp. 3d 179,
209–10 (D.D.C. 2022) (referencing its rulings rejecting defendant’s selective prosecution and
Brady claims as “irrelevant, inappropriate for consideration by the jury, invite jury nullification,
and distract from the issues at trial.”). Additionally, the defendant did not (and could not) argue
that these materials are “material to his defense” under Fed. R. Crim. P.16(a)(1)(E)(i) because
Fed. R. Crim. P. 16(a)(2) explicitly exempts such materials from disclosure: “[T]his rule does not
authorize the discovery of or inspection of reports, memoranda, or other internal government


                                                11
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 12 of 20 PageID #: 1871




           Finally, pursuant to Federal Rule of Criminal Procedure 5(f), the Court issued an order,

stating:

           The United States is obligated, pursuant to Brady v. Maryland, 373 U.S. 83 (1963),
           Giglio v. United States, 405 U.S. 150 (1972), and subsequent cases, to timely
           disclose information favorable to the defense as to criminal liability on the charged
           offense(s) or mitigation of any punishment that may be imposed. Such favorable
           information includes information that may cast doubt on the credibility of
           government witnesses. Possible consequences for violating this order include
           exclusion of evidence, dismissal of charges, contempt proceedings, disciplinary
           referral, and any other relief authorized by law.

ECF 14.

           The defendant cites no authority for his request that the Court should also order the

government to confirm in writing that it has produced all Brady material. ECF 83 at 9. He also

cites no authority for his suggestion that the Court should order the government to identify

materials that are not Brady but responsive to the defendant’s requests. Id. His requests for this

Court to go beyond the bounds of Federal Rule of Criminal Procedure 5(f)(1) are unsupported by

law and serve no purpose other than to try to obtain materials that he is otherwise not entitled to

receive, if such materials even exist.

                  C. The Government Agreed to Provide Remaining Jencks Materials at Least
                     One Week Before Trial
           The defendant asks the Court to order that witness statements covered by 18 U.S.C. §

3500 (the “Jencks Act”) be provided to the defense “no later than six weeks before any trial or

any evidentiary hearing where witnesses may be called.” ECF 83 at 11. At this time, no



documents made by an attorney for the government or other government agent in connection
with investigating or prosecuting the case.” The defendant’s attempt to generally cite Brady as
an end-run around Rule 16 should be denied.




                                                    12
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 13 of 20 PageID #: 1872




evidentiary hearing has been scheduled and, for the reasons stated in the government’s prior

filing, ECF 70, an evidentiary hearing is not warranted. With respect to trial in this case, the

government advised the defendant in writing on October 12, 2023, that it would provide

additional Jencks and impeachment materials, “at least one week prior to trial.” There is a small

volume of unproduced Jencks materials in this case and the government is confident that a

production of remaining Jencks materials at least one week before trial will not be a reason to

delay proceedings. Although the law, specifically 18 U.S.C. § 3500 and Federal Rule of

Criminal Procedure 26.2, requires the disclosure of such information only after direct testimony

is provided at trial, the government has indicated it will provide remaining Jencks materials at

least one week prior to trial. The defendant cites no authority that permits the Court to override

this law and order an earlier disclosure date. His requests should be denied.

               D. The Court Can Set a Deadline for Reasonable Notice Under Rule 404(b)

       Rule 404(b) provides that the government must provide “reasonable notice” of any

evidence it intends to offer at trial under Rule 404(b). The government requests that the Court

set a deadline for such disclosure in advance of trial that gives the defendant fair opportunity to

consider any Rule 404(b) evidence that the government intends to use. 6 His requested order,

however, is unfounded and should be denied.




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      As stated in the government’s filing, ECF 70, an evidentiary hearing is not warranted.
Moreover, Rule 404(b) relates to evidence at “trial” and the rules of evidence do not apply to
pretrial hearings. See United States v. Matlock, 415 U.S. 164, 172-73 (1974) (“the rules of
evidence normally applicable in criminal trials do not operate with full force at hearings before
the judge to determine the admissibility of evidence.”); see also Fed. R. Evid. 1101(d)(3)
(providing that the Rules of Evidence—“except for those on privilege”—do not apply to “a
preliminary examination in a criminal case.”)




                                                 13
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 14 of 20 PageID #: 1873




               E. The Defendant’s Request for Grand Jury Information is Unwarranted

       The defendant seeks broad categories of what he calls “grand jury information” and asks

the court to order the government to disclose this information. ECF 83 at 13. No authority is

offered for most of his requests. He asks for an order of production directed to the government,

even though the court possesses almost all of the information he has requested and the

government does not. The government opposes each of his requests.

       In support of his request for voir dire questions, the defendant argues that “it remains

possible that in this highly-politicized matter, the grand jury was selected without regard to the

bias that people might have . . .” He provides no authority as to why he is entitled to this

information other than a citation to 28 U.S.C. § 1867(a), which provides:

       In criminal cases, before the voir dire examination begins, or within seven days
       after the defendant discovered or could have discovered, by the exercise of
       diligence, the grounds therefor, whichever is earlier, the defendant may move to
       dismiss the indictment or stay the proceedings against him on the ground of
       substantial failure to comply with the provisions of this title in selecting the grand
       or petit jury.

       The statute states that “[t]he contents of records or papers used by the jury commission

or clerk in connection with the jury selection process shall not be disclosed, except pursuant to

the district court plan or as may be necessary in the preparation or presentation of a motion under

subsection (a), (b), or (c) of this section” and “the parties in a case shall be allowed to inspect,

reproduce, and copy such records or papers at all reasonable times during the preparation and

pendency of such a motion.” 28 U.S.C. § 1867(f). The defendant cites no authority that a

transcript of the court’s voir dire during grand jury selection is covered by this statute.

       The prosecution does not possess a transcript of the court’s voir dire of potential grand

jurors. Moreover, because the defendant has not indicated that he is preparing a motion that

challenges the court’s selection processes under (a), (b), or (c) of 28 U.S.C. § 1867 or explained


                                                  14
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 15 of 20 PageID #: 1874




the relevance of any of his requests as it relates to such a motion, the court is not required to

grant his requests. Furthermore, the defendant’s requests should have been made prior to the

motions deadline since the statute provides that the defendant may move to dismiss “within

seven days after the defendant discovered or could have discovered, by the exercise of due

diligence, the grounds therefor.” His belated request without any facts supporting a claim that

the court’s selection processes permitted unlawful grand jury bias should be denied.

       The defendant offers no legal authority to support his request for information related to

any instructions given to the grand jurors. The defendant contends, “given the history of the

government’s decision to forego any gun charge for a diversion agreement and decisions by

courts of appeals striking the gun statute as unconstitutional, it is not speculation that erroneous

or improper instructions were likely given to the grand jury.” ECF 83 at 14.

       Rule 6(e)(3)(E)(ii) provides that, “[t]he court may authorize disclosure—at a time, in a

manner, and subject to any other conditions that it directs—of a grand-jury matter . . . (ii) at the

request of a defendant who shows that a ground may exist to dismiss the indictment because of a

matter that occurred before the grand jury.” “This provision is not an invitation to engage in a

fishing expedition to search for grand jury wrongdoing and abuse when there are no grounds to

believe that any wrongdoing or abuse has occurred.” United States v. Loc Tien Nguyen, 314

F.Supp.2d 612, 616 (E.D.Va. 2004). See also United States v. Minerd, 299 F. App’x 110, 112

(3d Cir. 2008) (defendant failed to make the showing of “particularized need” for disclosure that

is required to overcome the policy of secrecy encompassed by Rule 6(e); United States v.

Woodson, No. CRIM. 09-117-SLR, 2010 WL 4365574, at *3 (D. Del. Oct. 28, 2010) (finding

defendant’s request for release of portions of the grand jury minutes to determine whether the

evidence presented was legally sufficient vague, conclusory and failed to demonstrate a



                                                  15
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 16 of 20 PageID #: 1875




particularized need for disclosure); In re Grand Jury Matter (Catania), 682 F.2d 61, 63-65 (3d

Cir. 1982) (explaining that only after the particularized need is demonstrated can the court weigh

the competing interests and holding that the district court abused its discretion in authorizing

disclosure of grand jury transcripts).

       The defendant has not supported his motion with facts that show wrongdoing or abuse

may have occurred. “Because grand jury proceedings are entitled to a strong presumption of

regularity, a defendant seeking disclosure of grand jury information under Rule 6(e)(3)(E)(ii)

bears the heavy burden of establishing that ‘particularized and factually based grounds exist to

support the proposition that irregularities in the grand jury proceedings may create a basis for

dismissal of the indictment.’” Loc Tien Nguyen, 314 F. Supp. 2d at 616 (citing Hamling v.

United States, 418 U.S. 87, 139 n. 23 (1974). This requires the moving party to show that

without access to the materials, the “defense would be greatly prejudiced” or “an injustice would

be done.” United States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958)).

       The defendant failed to establish how the “government’s decision to forego any gun

charge for a diversion agreement” means that “erroneous or improper instructions were likely

given to a grand jury.” He also failed to establish how an out-of-circuit appellate decision means

that “erroneous or improper instructions were likely given to a grand jury.” These speculative

statements fall far short of establishing a “strong showing of particularized need.” Accordingly,

his requests should be denied.

               F. The Defendant’s Requests for DOJ Materials Should be Denied

       The defendant misunderstands Brady in making the argument that he is entitled to the

records requested in his November 15, 2023, letter, attached as Exhibit 1 to his motion. ECF 83-

1. He argues that any communications to, from, between or among six named individuals



                                                 16
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 17 of 20 PageID #: 1876




relating to his prosecution are “impeachment material for the defense.” ECF 83 at 15. The

government is not calling any of these six individuals as witnesses. Nor is it calling as a witness

anyone who may have communicated with these six individuals about this prosecution. The

defendant’s argument that these communications are “impeachment material for the defense” is

without merit. See Starusko, 729 F.2d at 262 (“Evidence impeaching the testimony of a

government witness is exculpatory when the credibility of the witness may be determinative of a

criminal defendant’s guilt or innocence.”) (citing Giglio v. United States, 405 U.S. 150, 154,

(1972) and United States v. Gengler, 574 F.2d 730, 735 (3d Cir. 1978)). 7

       In support of his far-reaching request for all communications by anyone in the

government related to him, the defendant claims that “such documents would be exculpatory in

demonstrating DOJ’s lack of independent investigatory and prosecutorial decision-making

concerning Mr. Biden.” ECF 83 at 16. Again, this argument misses the mark and shows the

defendant fundamentally misunderstands Brady and its progeny because such communications

do not go to the heart of his guilt or innocence at trial. The Court should deny the defendant’s

requests to produce such materials or identify them for the defense.

               G. The Government Produced the Defendant’s Laptop in the Specific
                  Format He Requested and Attaches as Exhibit 1 the Relevant Messages
                  the Defendant Suggests Cannot be Found in the Discovery

       The defendant states, “nowhere in the prosecution’s 52-page opposition to the motion to

dismiss for selective and vindictive prosecution do they indicate for defense counsel where on


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     The Court should reject the defendant’s invitation to conflate impeachment with selective
prosecution. An alleged lack of prosecutorial discretion is not the same as impeachment
evidence. Impeachment evidence goes to a witness’ reliability and calls into question the
credibility of their testimony while selective prosecution evidence would show that the defendant
was unconstitutionally selected for prosecution. See United States v. Abboud, 438 F.3d 554, 579-
80 (6th Cir. 2006) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 680 (1986) and Davis v.
Alaska, 415 U.S. 308, 318 (1974)).

                                                17
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 18 of 20 PageID #: 1877




the devices they have found which evidence and when it was found (though now clearly after the

charges were filed).” ECF 83 at 17.

         The defendant did not reach out to government counsel to ask for assistance in locating

materials. Instead, he filed a motion with the Court suggesting the materials cannot be located.

Exhibit 1 includes examples of the electronic messages referenced on page 8-9 of its Response in

Opposition to the Defendant’s Motion for Selective and Vindictive Prosecution, ECF 68. 8

         The defendant received the messages referenced in the government’s opposition in

Production 1 on October 12, 2023. These messages were obtained pursuant to the 2019 and

2020 search warrants which were also included in that same production.

         As outlined above, the government later obtained a December 4, 2023, warrant that

provided yet another legal basis for investigators to seize information relevant to this case from

the defendant’s iCloud account, his iCloud backup files, his laptop, and his external hard drive.

But because the defendant did not file a motion to suppress the 2019 and 2020 search warrants,

the 2023 warrant ultimately was not needed as additional legal authority in response to a motion

in this case. The defendant knows that no evidence was obtained pursuant to the 2023 warrant

because the electronic evidence and accompanying search warrants were produced to him in

October 2023 with the prior warrants, three months prior to the December 2023 warrant. He

incorrectly claims in footnote 2 that the 2023 warrant was used to obtain “for the first time, text

messages, photos, and other evidence in support of his felony charges” and suggests he will seek

leave to file a belated motion to suppress the December warrant (which he informed the

government he had reviewed prior to the pretrial motions deadline but did not ask for leave

then). But even if he could provide sufficient reasons for leave to file a belated motion seeking


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       The government will also provided Exhibit 1, without redactions, to defense counsel.

                                                 18
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 19 of 20 PageID #: 1878




to suppress the December 2023 warrant, it would be denied as moot because the government

already obtained all of the relevant electronic evidence in this case from the 2019 and 2020

warrants produced on October 12, 2023, which he did not seek to suppress.

       The final argument by the defendant is dishonest and misleading. The defendant’s

counsel met with government counsel in Wilmington on August 29, 2023, and made a specific

request for an exact forensic copy of the laptop and external hard drive. His defense counsel

reiterated this request in an email dated September 25, 2023, in which defense counsel stated

“we want to ensure the data we receive is an identical copy as you have it and that the data will

retain its native forensic properties (e.g., time and date stamps, file paths, operative system

characteristics, user profile information, etc.)” and that the “data loaded on the hard drive is

complete and identical in every shape and manner to that obtained by the FBI when it acquired

possession” of the laptop and hard drive. The government accommodated this request.

       Before asking for any help from the government in locating the data, the defendant filed

his motion alleging he is “[s]tuck searching an abyss of data (more than 220 gigabytes)”, ECF 83

at 18, and the government has “left buried the pertinent photos within a production of a

voluminous, undifferentiated files.” ECF 83 at 17. The defendant does not disclose that the

format in which he received the discovery is the format that he demanded. He also claims the

prosecution has the laptop image in a “searchable e-discovery format.” The prosecution does not

have the laptop image in that format. He claims the prosecution has an index of the image. It

does not. And he complains that there are no Bates stamps for material contained on the image.

There are no Bates stamps because the defendant demanded the data in its original, unaltered

format. Moreover, as mentioned previously, the primary source of evidence in this case is the




                                                 19
Case 1:23-cr-00061-MN Document 86 Filed 02/13/24 Page 20 of 20 PageID #: 1879




evidence obtained from the defendant’s Apple iCloud account, which was produced to the

defendant in a readily searchable format.

       Finally, the defendant’s requested relief is disconnected from his argument. While the

defendant states, “Mr. Biden is simply requesting the prosecution generally point defense

counsel to where on the image it can find the quoted text messages and referenced photos

described in the prosecution’s latest briefs,” he then asks the Court for an order “compelling the

prosecution to provide relevant discovery and identify where on the images of the devices

provided Mr. Biden can locate material responsive to his discovery requests. . .” ECF 83 at 18,

19 (emphasis added). The government has already provided discovery in the format the

defendant requested and the government is under no obligation to search the produced materials

for the information he seeks in his letters. Exhibit 1 to this response addresses the defendant’s

request for information in the government’s filing, therefore there is no need for involvement

from the Court. An order “setting deadlines for the production and identification of relevant

discovery on those devices” is not appropriate or necessary and his requests should be denied.

II.    CONCLUSION

       The defendant’s motion, ECF 83, should be denied.

                                                    Respectfully submitted,

                                                    DAVID C. WEISS
                                                    SPECIAL COUNSEL

                                             By:

                                                    ________________________________
                                                    Derek E. Hines
                                                    Senior Assistant Special Counsel

                                                    Leo J. Wise
                                                    Principal Senior Assistant Special Counsel

                                                    U.S. Department of Justice
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